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     Dated: February 6, 2018




CASE ADMINISTRATOR SHALL SERVE:
       Natalie Lutz Cardiello, Esquirre                         FILED
       John W. and Cambria L. Sorensen                          2/6/18 11:57 am
       Jason L. Karavias, Esquire
                                                                CLERK
                                                                U.S. BANKRUPTCY
                                                                COURT - WDPA
